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                  8
                                                       UNITED STATES DISTRICT COURT
                  9                                  NORTHERN DISTRICT OF CALIFORNIA
                                                          SAN FRANCISCO DIVISION
                10

                11       GOOGLE LLC,
                                                                          Case No. 3:22-cv-04552-AMO
                12                      Plaintiff,
                                                                          JOINT STATUS REPORT
                13                              v.                        PURSUANT TO DKT. 20
                14       SONOS, INC.,
                15
                                        Defendants.
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                                                                                             Case No. 3:22-cv-04552-AMO
01980-00201/15388833.2                                                                                  Joint Status Report
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                  1          Pursuant to the Court’s order of November 5, 2024 (Dkt. 20), Plaintiff Google LLC

                  2 (“Google”) and Defendant Sonos, Inc. (“Sonos”) submit this joint status report regarding this case.

                  3          On August 8, 2022, Google filed its complaint asserting infringement U.S. Patent Nos.

                  4 10,593,330, 10,134,398, and 7,705,565 (the “’330 Patent,” “’398 Patent,” and “’565 Patent,”

                  5 respectively). Dkt. 1.

                  6          On August 9, 2022, Google filed a complaint in the ITC alleging a violation of Section 337

                  7 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337 (“Section 337”) based on alleged

                  8 infringement of the same three patents. The ITC instituted an Investigation responsive to Google’s

                  9 complaint, styled ITC Investigation No. 337-TA-1329 (“the 1329 Investigation”).

                10           On September 12, 2022, this Court stayed this case pending the disposition of the 1329

                11 Investigation. Dkt. 13.

                12           On October 18, 2022, the ITC terminated the 1329 Investigation as to the ’565 Patent.

                13           On May 17, 2023, Sonos moved for summary determination in the 1329 Investigation that

                14 the ’330 and ’398 Patents are invalid under 35 U.S.C. § 112 as indefinite. Google has opposed this

                15 motion. This motion is still pending.

                16           On May 15, 2024, the U.S. Patent Trial and Appeal Board (“PTAB”) found the asserted

                17 claims of the ’398 Patent and the ’330 Patent invalid under 35 U.S.C. §§ 102, 103. Google has

                18 appealed these decisions to the Federal Circuit. Google filed its opening appeal brief on November

                19 18, 2024.

                20           On July 31, 2024, Sonos moved again for summary determination in the 1329 Investigation

                21 that the ’398 Patent and ’330 Patent are invalid for the same reasons that the PTAB concluded these

                22 patents were invalid. Google has opposed this motion. This motion is also still pending.

                23           The initial determination date in the 1329 Investigation is currently January 25, 2025, and

                24 the target date is currently May 12, 2025.

                25           The parties agree that pursuant to 28 U.S.C. § 1659 this case should remain stayed until a

                26 decision from the Commission in the 1329 Investigation becomes final. The parties will promptly

                27 inform the Court once that occurs.

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01980-00201/15388833.2                                                                                    Joint Status Report
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                  1            Respectfully submitted,

                  2      Dated: November 18, 2024                              Respectfully submitted,

                  3      /s/ Patrick Curran                                    /s/ Alyssa Caridis
                         Patrick Curran                                        Alyssa Caridis
                  4      Attorneys for GOOGLE LLC                              Attorneys for SONOS INC.
                  5      QUINN EMANUEL URQUHART &                              ORRICK, HERRINGTON & SUTCLIFFE
                         SULLIVAN, LLP                                         LLP
                  6

                  7      Counsel for Plaintiff Google LLC                      Counsel for Defendant Sonos Inc.
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01980-00201/15388833.2                                                                                       Joint Status Report
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                  1                                        ECF ATTESTATION

                  2           I, Patrick Curran, am the ECF User whose ID and password are being used to file this JOINT

                  3 CASE MANAGEMENT STATEMENT. In compliance with General Order 45, X.B., I hereby attest

                  4 that Counsel for Sonos has concurred in this filing.

                  5      Dated: November 18, 2024
                                                                               By: /s/ Patrick Curran
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01980-00201/15388833.2                                                                                     Joint Status Report
